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August 10, 2018
Via ECF
Honorable Judith C. McCarthy, U.S.M.J.
United States District Court
Southern District of New York
300 Quarropas Street, Courtroom 621
White Plains, NY 10601-4150

RE: Hughes v. Weleda, lnc.
Case No. 7:17-cv-2494

KDV File No. 020914-0004
Dear Judge McCarthy:
This flrrn represents defendant Weleda Inc. (“Defendant”) in the above referenced action.
As ordered by the Court during the August 3, 2018 telephonic status eonference, the parties met
and conferred on August 7th and narrowed some of the outstanding discovery issues, and jointly
propose the following schedule.
0 Plaintiff having clarified its requests to Defendant, Defendant Will provide any
additional responsive documents to Plaintiff s requests by September 15, 2018,

excluding Electronic Stored Information.

0 Defendant Will produce Electronic Stored Information responsive to Plaintiffs
requests by October 19, 2018.

¢ The parties Will engage in mediation by November 30, 2018.
We thank the Court for its attention to this matter.

Respectfully submitted,
Kaufman Dolowich & Voluck, LLP

By: s/ Christopher Nucifora
CHRISTOPHER NUCIFORA

So ordered:

 

Hon. Judith C. McCarthy, U.S.M.J.

New York l Pennsylvania l New Jersey l San Francisco l Los Angeles l Florida l Chicago

